Case 1:04-cv-01220-.]DT-STA Document 27 Filed 07/25/05 Page 1 of 3 Page|D 23

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IN THE UNITED sTATEs DISTRICT CoURT ~’!/z<.,$ \
FoR THE WESTERN DISTRICT oF TENNESSEE ,»,,£ ;s,, 4,y `
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§§ l“' /SW),/_l/)J@
15 J?‘C/{;‘ %
CEDRIC D. WHITESIDE a/k/Ei may 4]/
MALCOLM WHITESIDE,
Piaimiff,
VS. NO. 04-1220-T/An

DAVID WOOLFORK, ET AL.,

Defendants.

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ORDER DENYING MOTION TO SECURE RECALCITRANT WITNESS

 

Plaintiff`Cedric D. Whiteside, a/k/a Malcolm Whitesicle, has filed a Motion for Recalcitrant
Witness, requesting that the Court take action to secure the presence of an individual named
Christopher Brown as a Witnesss at the trial of this ease. This motion is subject to denial for failure
of the plaintiff to include a certificate of service showing that a copy of the motion was provided to
opposing counsel. E Fed. R. Civ. P. 5. However, the motion is also Without merit.

In support of the motion, plaintiff states that BroWn committed perjury throughout his
deposition, which Was taken on June 1, 2005. Plaintifi" also states that Brown communicated his
intent to make himself unavailable for service of a trial subpoena Plaintiff speculates that since
Brown Was in the custody of the defendants at the Madison County Jail, he Was pressured to change
his story.

ln criminal cases, the Court may issue a material Witness Warrant in order to secure the

presence of one Who is evading a subpoena 18 U.S.C. § 3144. Hovvever, that authority does not

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extend to civil cases. Thus, the Court does not have the power to order Brown held until the trial
of this case or require him to post bond securing his appearance at trial. IfBrown is not incarcerated,
the Court cannot coerce his appearance without service of a subpoena

lf Brown is already incarcerated in a correctional facility at the time of trial,‘ plaintiff may
file a petition seeking a writ of habeas corpus ad testificandum Any such petition must set forth the
specific substance of Brown’s expected testimony, and must explain the relevance of that testimony
to plaintiff s claims in this case. lf the Court then determined that Brown’s testimony would, in fact,
be relevant, the writ would be issued at the appropriate time, directing the warden of the facility to
produce the witness at trial. However, if Brown is not incarcerated at the time of trial, plaintiff will
have to determine whether he wishes to request service of a subpoena2

The motion to secure the presence of a recalcitrant witness is DENIED.

IT IS SO ORDERED.

 

 

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DAT'E

 

l The Court notes that although a scheduling order has been entered, this case has not yet been set for

trial.

2 Plaintiff should note that since he is proceeding informal pauperis if the Court should grant a request
for the issuance of a subpoena, he will be entitled to have it served by the U.S. Marshal. However, pursuant to Fed.
R. Civ. P. 45(b), one day’s attendance fee and one day’s mileage must be tendered to the witness at the time the
subpoena is served 28 U.S.C. § lSZl(b), (c)(Z). The Marshal does not provide those fees. Plaintiff will be
required to send a check or money order, made out to the witness, for the appropriate amount of fees The witness
fee for one day’s attendance at trial is $40 and the current mileage rate is 40'/2 cents per mile for automobile travell

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CV-01220 was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

ESSEE

 

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Cedric D. Whiteside
S.C.C.F.

246923

Clifton7 TN 38425

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Honorable J ames Todd
US DISTRICT COURT

